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                                                 YERIFICATION
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                 I' Weiwei Lq   am the Director of Operations for Interfocus, Inc.   I am the agent of
 J

         Interfocus Inc. for the purpose of answeriog Pleintiff/Counter-Claim
 4                                                                            Ilefendant Neman
 5       Brothers & Assoc., fnc.'s Request for Interrogetories. I have read the foregoing
 6
         interrogatories and the answers to those interrogatories, which are tnre according to the
                                                                                                   best   of
 7
         my knowledge, information, and belief. I declare under penalty of perjury that &e foregoing is
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         true and correct.
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10       Dated this lTth day of May,2O2l
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